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 6
     Attorneys for Plaintiff
 7
     COASTAL CORPORATION LTD.
 8
 9                           UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11                                           CASE NO.
12      COASTAL CORPORATION LTD.
                                             COMPLAINT FOR:
13                        Plaintiff          1. BREACH OF CONTRACT
                    vs.
                                             2. OPEN BOOK ACCOUNT
14                                           3. ACCOUNT STATED
15      HARVEST KING TRADING USA,            4. UNJUST ENRICHMENT-
        LIMITED, a California corporation;
        THOMAS JAU, an individual aka        QUANTUM MERUIT
16      TOM JAU; LAM LAM, an                 5. CONVERSION
17      individual; PAK LAM, an
        individual; DOES 1 THROUGH 10 ,      6. TRESSPASS TO CHATTEL
18      INCLUSIVE
                          Defendants.        JURY TRIAL DEMANDED
19
20
21
22
23
24
25
26
27
28                                      COMPLAINT
     {02636365.1}
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 1         Plaintiff COASTAL CORPORATION LTD. (“Plaintiff” or “Coastal”) hereby
 2
     complains against Defendants HARVEST KING TRADING USA, LIMITED, a
 3
 4   California corporation (“Harvest”); THOMAS JAU, an individual aka TOM JAU (“Jau”),

 5   LAM LAM, an individual (“Lam”), PAK LAM, an individual (“Pak”) and DOES 1
 6
     through 10, inclusive (collectively with the aforementioned Defendants, the
 7
 8   “Defendants”), and alleges as follows:
 9                                 NATURE OF THIS ACTION
10
           1. Plaintiff brings this action for the acts of breach of contract and common counts,
11
12   as well as conversion and trespass to chattel by Defendants for goods provided to them,
13   but not paid for.
14
                                              PARTIES
15
16         2. Plaintiff is a corporation incorporated under the laws of India and
17   having its principal place of business in India.
18
           3. Defendant Harvest is a corporation organized under the laws of California and
19
20   having its principal place of business in Los Angeles County.
21         4. Defendant Jau is an individual, who is and at all times mentioned herein was, on
22
     information and belief, a citizen of California, with his place of residence in Los Angeles
23
24   County.
25
26
27                                                 1
28                                      COMPLAINT FOR DAMAGES
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 1         5. Defendant Lam is an individual, who is and at all times mentioned herein was,
 2
     on information and belief, a citizen of California, with his place of residence in Los
 3
 4   Angeles County.

 5         6. Defendant Pak is an individual, who is and at all times mentioned herein was,
 6
     on information and belief, a citizen of California, with his place of residence in Los
 7
 8   Angeles County
 9         7. On information and belief, Defendants Jau, Pak, and Lam, are, and at all times
10
     herein mentioned were, shareholders and/or officers and/or directors of Harvest.
11
12         8. Plaintiff is informed and believes, and thereon alleges, that the actions
13   and omissions that serve as the basis for this complaint were undertaken jointly and
14
     with the consent, conspiracy, cooperation, and joint participation of all defendants.
15
16         9. Plaintiff is informed and believes, and thereon alleges, that at all times
17   mentioned herein, each defendant was the agent, joint venture, and/or employee of
18
     each and every other defendant, and in doing the things alleged in this complaint, each
19
20   defendant was acting within the course and scope of such agency, joint venture, and/or
21   employment and with the permission and consent of each of the other defendants.
22
            10. The true names and capacities, whether individual, corporate, associate,
23
24   or otherwise, of Defendants named herein as DOES 1 through 10, inclusive, and each
25   of them, are unknown to Plaintiff at this time. Plaintiff therefore sues said Defendants,
26
     and each of them, by such fictitious names. Plaintiff will advise the Court and seek
27
                                                 2
28
                                    COMPLAINT FOR DAMAGES
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 1   leave to amend this Complaint when the true names and capacities of each such
 2
     Defendant has been ascertained. Plaintiff is informed and believes, and based thereon
 3
 4   alleges, that each such Defendant designated as a DOE is responsible in some manner

 5   for the events and happenings referred to herein or as hereinafter specifically alleged.
 6
                                  JURISDICTION AND VENUE
 7
 8         11. The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332,
 9   as there is diversity of citizenship between the parties, and the amount in controversy
10
     exceeds $75,000, exclusive of interest and costs.
11
12         12. Venue is proper under 28 U.S.C § 1391(b)(2) because a substantial part
13   of the events or omissions giving rise to the claims occurred in this district.
14
                                     ALTER EGO LIABILITY
15
16         13. Plaintiff is informed and believes, and thereon alleges, that at all relevant
17   times, there existed a unity of interest and ownership between Harvest and each
18
     of Defendants Jau, Lam, and Pak, such that any individuality or separateness between
19
20   such Defendants, and each of them, on the one hand, and Harvest, on the other, have
21   ceased. Harvest is the alter ego of such Defendants in that:
22
           a. Harvest is, and at all relevant times was, a mere shell, instrumentality, and
23
24   conduit through which such Defendants carried on business in the name of Harvest while
25   exercising complete control and dominance over Harvest, its business, and its assets to
26
27
                                                   3
28
                                     COMPLAINT FOR DAMAGES
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 1   such an extent that any individuality or separateness between Harvest and such
 2
     Defendants did not exist.
 3
 4          b. Harvest was conceived, intended, and used by such Defendants

 5   as a device to avoid liability. Harvest is, and at all times herein mentioned was, so
 6
     inadequately capitalized that, compared with the business to be done by Defendants and
 7
 8   the risks of loss, its capitalization was illusory and trifling.
 9          c. Defendants failed to keep arms-length relationships between themselves
10
     and Harvest.
11
12          d. Harvest is, and at all times herein mentioned was, controlled, dominated, and
13   operated by such Defendants, and each of them, as their alter ego, in that the activities
14
     and business of Harvest were carried out without holding annual meetings, and without
15
16   keeping records or minutes of any proceedings, or maintaining written resolutions.
17          14. Adherence to the fiction of the separate existence of Harvest and
18
     remaining Defendants would permit an abuse of the corporate privilege and would
19
20   sanction fraud, promote injustice, and otherwise aid in the commission of unlawful
21   conduct. This is true because, as Plaintiff is informed and believes, at all relevant
22
     times, Defendants were commingling assets in a manner that allowed Defendants to
23
24   utilize and freely transfer those assets amongst themselves. The commingling of assets
25   and unlawful business conduct, as alleged more fully herein, by Defendants through
26
27
                                                     4
28
                                      COMPLAINT FOR DAMAGES
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 1   this shell entity, Harvest, was intended, among other things, to allow Defendants to avoid
 2
     liability to Plaintiff for valid obligations. Plaintiff is informed and believes, and thereon
 3
 4   alleges, that at all relevant times, there existed a unity of interest and ownership between

 5   each and every Defendant such that any individuality or separateness between each and
 6
     every Defendants has ceased. Defendants are the alter egos of one another in that
 7
 8   Defendants carried on their activities and business together, with an agreement to share in
 9   the profits and spoils of their fraudulent activities and business.
10
                              FACTS COMMON TO ALL COUNTS
11
12         15.    On or about April 28, 2021, Coastal and Harvest entered into two contracts
13   wherein Coastal agreed to sell shrimp to Harvest. The terms of the agreements were
14
     memorialized in two performa invoices issued by Coastal and corresponding two
15
16   purchase orders issued by Harvest and are as follows: 35,000 pounds of shrimp to be
17   delivered container yard to container yard at the price of $3.60 per pound for the total
18
     purchase price of $126,000.00; payment by Harvest to be made “after FDA passage and
19
20   before delivery.” Other than the date of delivery, the two performa invoices and purchase
21   orders are identical. The first shipment was to take place in June 2021 (“First Shipment”)
22
     and the second shipment was to take place in July 2021 (“Second Shipment”). Attached
23
24   hereto as Exhibit 1 is the performa invoice reflecting the June 2021 shipment and its
25   corresponding purchase order #23660. Attached hereto as Exhibit 2 is the performa
26
     invoice reflecting the July 2021 shipment and its corresponding purchase order #23661.
27
                                                 5
28
                                     COMPLAINT FOR DAMAGES
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 1         16.    The First Shipment arrived as scheduled at the container yard in Los
 2
     Angeles and Harvest was informed of the FDA approval. Pursuant to the written
 3
 4   agreements, Coastal demanded payment before releasing the goods to Harvest. Harvest

 5   failed to make payments. Accordingly, Coastal informed Harvest that it would not
 6
     release the goods to Harvest absent payment. To mitigate its damages, Coastal found a
 7
 8   third party buyer, namely Seafood Doctor, for the goods and sold the goods to Seafood
 9   Doctor. Seafood Doctor made payment to Coastal and was ready to pick up the goods
10
     from the container yard. However, before Seafood Doctor was able to pick up the goods
11
12   from the container yard, Harvest went ahead and picked up the First Shipment from the
13   container yard anyway.
14
           17. Discussions among the parties ensued and finally the parties were able to reach
15
16   a resolution regarding the First Shipment when Harvest agreed to reimburse Seafood
17   Doctor. Accordingly, the First Shipment is not at issue in this action.
18
           18.    Subsequently, while the Second Shipment was on route, Coastal attempted
19
20   to make certain that it will not face a similar scenario as the First Shipment; i.e., that
21   Harvest would make payment before release of the goods to them. When Harvest
22
     indicated its unwillingness to do so, Coastal informed Harvest that Harvest is in
23
24   anticipatory breach of their agreement and informed Harvest that it would not release the
25   Second Shipment to Harvest. Again, to mitigate its damages, Coastal sold the Second
26
     Shipment of goods to Seafood Doctor.
27
                                                    6
28
                                     COMPLAINT FOR DAMAGES
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 1         19.    The Second Shipment arrived as scheduled, and again, Seafood Doctor was
 2
     ready to pick it up. However, again, Harvest, knowing the shipping details, such as the
 3
 4   bill of lading number and container number, had the Second Shipment picked up from the

 5   container yard without Coastal’s consent whatsoever. However, this time, Harvest has
 6
     failed to pay for the Second Shipment whatsoever.
 7
 8                                 FIRST CAUSE OF ACTION
 9                     BY PLAINTIFF AGAINST ALL DEFENDANTS
10
                                       (Breach of Contract)
11
12         20.    Plaintiff realleges and incorporates herein by reference each and every
13   allegation contained in the preceding paragraphs.
14
            21.   On or about June 26, 2019 and thereon, Plaintiff and Harvest, and Does 1
15
16   through 10, inclusive, and each of them, conducted certain business transactions with
17   each other wherein Plaintiff delivered certain shrimp products to said Defendants, and
18
     each of them. Defendants Harvest, and Does 1 through 10, inclusive, and each of them,
19
20   took possession from Plaintiff of Plaintiff’s goods. However, said Defendants have failed
21   (to date) to make payment to Plaintiff for said goods, leaving a principal balance of
22
     $126,000.00 still due and owing to Plaintiff for said goods. Attached hereto as Exhibit 2
23
24   is the performa invoice reflecting the July 2021 shipment and its corresponding purchase
25   order #23661, which constitutes the contract among the parties, and is hereby
26
     incorporated herein fully by reference.
27
                                                  7
28
                                    COMPLAINT FOR DAMAGES
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 1          22.   Pursuant to the terms of the agreements of the parties, Harvest, and Does 1
 2
     through 10, inclusive, and each of them, were to pay the above-mentioned sum to
 3
 4   Plaintiff.

 5          23.   Plaintiff has performed all the terms and conditions on its part to be
 6
     performed under the above-mentioned agreements, except for such terms and conditions
 7
 8   as have been excused by the conduct and breaches of Defendants Harvest, and Does 1
 9   through 10, inclusive, and each of them, if any.
10
            24.   Harvest, and Does 1 through 10, inclusive, and each of them, breached the
11
12   above-referenced agreements by failing to pay the sum of $126,000.00. As a direct,
13   proximate, and foreseeable consequence of the above-referenced breaches by Defendants
14
     Harvest, and Does 1 through 10, inclusive, and each of them, Plaintiff has been damaged
15
16   in the principal sum of $126,000.00
17          25.   Plaintiff also seeks recovery from said Defendants, and each of them,
18
     together with interest thereon at the legal rate from the date(s) of breach through the date
19
20   of judgment herein, pursuant to the agreements, in a sum to be determined according to
21   proof, and attorneys’ fees, and costs of suit incurred herein according to proof.
22
            26.   Pursuant to the alter ego allegations herein, Defendants Lau, Pak, Lam and
23
24   Does 6–10 are jointly and severally liable for the obligations of Harvest, as described
25   herein above.
26
27
                                                  8
28
                                    COMPLAINT FOR DAMAGES
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 1                                 SECOND CAUSE OF ACTION
 2
                         BY PLAINTIFF AGAINST ALL DEFENDANTS
 3
 4                                      (Open Book Account)

 5          27.    Plaintiff realleges and incorporates herein by reference each and every
 6
      allegation contained in the preceding paragraphs.
 7
 8          28.    Plaintiff alleges that Defendants Harvest, and Does 1 through 5, inclusive,
 9    and each of them, became indebted to Plaintiff within the last four years on an open book
10
      account for money due for goods delivered to said Defendants, for which said
11
12    Defendants, and each of them, owe Plaintiff the sum of $126,000.00.
13          29.    Neither the whole nor any part of the above-referenced sum has been paid to
14
      Plaintiff by Defendants, and each of them, despite Plaintiff’s demand therefor, and there
15
16    is now due, owing, and unpaid to Plaintiff the sum of $126,000.00, together with interest
17    thereon at the legal rate from the date(s) payments fell due through the date of judgment
18
      herein in a sum to be determined according to proof. Plaintiff further seeks recovery
19
20    herein from said Defendants, and each of them, of costs of suit incurred herein according
21    to proof, and of attorneys’ fees incurred herein according to proof, pursuant to California
22
      Civil Code § 1717.5.
23
24          30. Pursuant to the alter ego allegations herein, Jau, Lam, Pak and Does 6–10 are
25    jointly and severally liable for the obligations of Harvest.
26
27
                                                    9
28
                                      COMPLAINT FOR DAMAGES
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 1                                 THIRD CAUSE OF ACTION –
 2
                         BY PLAINTIFF AGAINST ALL DEFENDANTS
 3
 4                                         (Account Stated)

 5          31.    Plaintiff realleges and incorporates herein by reference each and every
 6
      allegation contained in the preceding paragraphs.
 7
 8          32.    Plaintiff alleges that Defendants Harvest and Does 1 through 5, inclusive,
 9    and each of them, became indebted to Plaintiff within the last four years because an
10
      account was stated for money due from said Defendants, and each of them, to Plaintiff in
11
12    the sum of $126,000.00 for goods delivered by Plaintiff to said Defendants.
13          33.    Neither the whole nor any part of the above-referenced sum has been paid to
14
      Plaintiff by Defendants despite Plaintiff’s demand therefor, and there is now due, owing,
15
16    and unpaid to Plaintiff the sum of $126,000.00 together with interest thereon at the legal
17    rate from the date(s) payments fell due through the date of judgment herein in a sum to be
18
      determined according to proof. Plaintiff further seeks recovery herein from said
19
20    Defendants, and each of them, of costs of suit incurred herein according to proof, and of
21    attorneys’ fees incurred herein according to proof, pursuant to California Civil Code §
22
      1717.5.
23
24          34.    Pursuant to the alter ego allegations herein, Jau, Lam, Pak and Does 1–6 are
25    jointly and severally liable for the obligations of Harvest.
26
27
                                                   10
28
                                      COMPLAINT FOR DAMAGES
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 1                                FOURTH CAUSE OF ACTION –
 2
                         BY PLAINTIFF AGAINST ALL DEFENDANTS
 3
 4                      (UNJUST ENRICHMENT-QUANTUM MERUIT)

 5          35.    Plaintiff realleges and incorporates herein by reference each and every
 6
      allegation contained in the preceding paragraphs.
 7
 8          36.    As described above, Harvest expressly requested that Coastal provide certain
 9    goods, namely shrimp, for its benefit.
10
            37.    Coastal performed its obligations and provided the goods as requested by
11
12    Harvest and Harvest is in receipt of the goods.
13          38.    Harvest has not paid Coastal for the value of the good received.
14
            39.    The negotiated minimum value and reasonable value of the goods received
15
16    by Harvest is $126,000.00. Plaintiff therefore seeks recovery herein from Defendants
17    and each of them, of said reasonable value of said goods in the sum of $126,000.00,
18
      together with interest thereon at the legal rate from the date(s) payments fell due through
19
20    date of judgment herein in a sum to be determined according to proof.
21          40.    Pursuant to the alter ego allegations herein, Jau, Lam, Pak and Does 1–6 are
22
      jointly and severally liable for the obligations of Harvest.
23
24
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                                                   11
28
                                      COMPLAINT FOR DAMAGES
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 1                                 FIFTH CAUSE OF ACTION –
 2
                         BY PLAINTIFF AGAINST ALL DEFENDANTS
 3
 4                                          (CONVERSION)

 5          41. Plaintiff realleges and incorporates herein by reference each and every
 6
      allegation contained in the preceding paragraphs.
 7
 8          42. At all times relevant hereto, Plaintiff was and still is the rightful owner,
 9    and was and still is entitled to the possession and use, of its Personal Property
10
      amounting to $126,000.00 (the “Personal Property”).
11
12          43. As alleged herein, Harvest, Jau, Pak, Lam and Does 1 through 10, inclusive,
13    obtained dominion and control over Plaintiff’s Personal Property when they picked up the
14
      Personal Property, or caused the same to be picked up from the container yard without
15
16    Plaintiff’s consent.
17          44. As alleged herein, Plaintiff has not received payment for its Personal Property,
18
      nor at the time of the filing of this complaint, has received back the Personal Property. As
19
20    such, Harvest, Jau, Pak, Lam and Does 1 through 10 owe Plaintiff the return of its
21    Personal Property or value thereof.
22
            45. Harvest , Jau, Pak, Lam and Does 1 through 10 have retained wrongful
23
24    possession of Plaintiff’s Personal Property and have refused and continue to refuse to
25    return Plaintiff’s Personal Property or pay the value thereof despite numerous demands
26
      from Plaintiff.
27
                                                   12
28
                                     COMPLAINT FOR DAMAGES
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 1           46. As a direct and proximate result of the foregoing conversion and theft,
 2
      Plaintiff has been severely harmed and has suffered significant damages within this
 3
 4    Court’s jurisdiction in an amount to be proven at trial but in no event less than

 5    $126,000.00.
 6
             47. Plaintiff is informed and believes, and on such information and belief
 7
 8    alleges, that in doing and committing the conversion and theft set forth above,
 9    Defendants acted with malice, ill will, and with the intent and design of harming
10
      Plaintiff, for which Plaintiff is entitled to a punitive damages award against
11
12    Defendants.
13                                    SIXTH CAUSE OF ACTION
14
                           BY PLAINTIFF AGAINST ALL DEFENDANTS
15
16                                        (Tresspass to Chattel)
17           48.      Plaintiff realleges and incorporates herein by reference each and every
18
      allegation contained in the preceding paragraphs.
19
20           49.      Defendants knew or should have known that the Personal Property belonged
21    to Plaintiff.
22
             50.      As alleged herein above, Harvest, Jau, Lam, Pak, and Does 1-10, without
23
24    Plaintiff’s consent, picked up the Personal Property or caused the same to be picked up
25    from the container yard and have yet to return the Personal Property or pay the value
26
      thereof.
27
                                                     13
28
                                       COMPLAINT FOR DAMAGES
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 1          51.     Plaintiff suffered, and continues to suffer, damages including, but not limited
 2
      to the Personal Property and value thereof, in an amount within the jurisdictional limits of
 3
 4    this court, in an amount to be proven at trial, but no less than $126,000.00.

 5          52.     The conduct of Harvest and Does 1-5 was a substantial factor in causing
 6
      Plaintiff’s harm.
 7
 8          53. As a direct and proximate result of the foregoing conversion and theft,
 9    Plaintiff has been severely harmed and has suffered significant damages within this
10
      Court’s jurisdiction in an amount to be proven at trial but in no event less than
11
12    $126,000.00.
13          54. Plaintiff is informed and believes, and on such information and belief
14
      alleges, that in doing and committing the conversion and theft set forth above,
15
16    Defendants acted with malice, ill will, and with the intent and design of harming
17    Plaintiff, for which Plaintiff is entitled to a punitive damages award against
18
      Defendants.
19
20                                   PRAYER(S) FOR RELIEF
21          WHEREFORE, Plaintiff prays for judgment against Defendants, and each of
22
      them, as follows:
23
24          1. For damages within this Court’s jurisdiction in an amount according to
25    proof at trial but in no event less than $126,000.00;
26
            2. For consequential damages;
27
                                                   14
28
                                      COMPLAINT FOR DAMAGES
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 1          3. For pre-judgment and post-judgment interest on all damages awarded;
 2
            4. For attorneys’ fees and costs of suit incurred herein according to proof;
 3
 4          5. For punitive damages in an amount appropriate to punish Defendants and

 5    deter others from engaging in similar misconduct, for Counts Five and Six;
 6
            6. For such other and further relief as the Court may deem just and proper
 7
 8    DATED: April 22, 2022                   Respectfully submitted,
 9
10                                            KOHAN LAW FIRM

11                                                /s/ K. Tom Kohan
                                                  K. Tom Kohan
12
                                                  Attorneys for Plaintiff
13                                                COASTAL CORPORATION LTD.
14
15                                 DEMAND FOR JURY TRIAL
16          Plaintiff hereby demands a jury trial as to all issues.
17    DATED: April 22, 2022                   Respectfully submitted,
18                                            KOHAN LAW FIRM
                                                /s/ K. Tom Kohan
19
                                                K. Tom Kohan
20                                              Attorneys for Plaintiff
                                                COASTAL CORPORATION LTD.
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                                     COMPLAINT FOR DAMAGES
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